Fill in this information to identify the case:

Debtor name         Marx Sheet Metal & Mechanical, Inc.

United States Bankruptcy Court for the:     MIDDLE DISTRICT OF PENNSYLVANIA

Case number (if known)     5:23-bk-00839
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       May 12, 2023                    X /s/ Joseph Marx
                                                           Signature of individual signing on behalf of debtor

                                                            Joseph Marx
                                                            Printed name

                                                            President
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors




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 Fill in this information to identify the case:

 Debtor name            Marx Sheet Metal & Mechanical, Inc.

 United States Bankruptcy Court for the:                       MIDDLE DISTRICT OF PENNSYLVANIA

 Case number (if known)               5:23-bk-00839
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $            31,500.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $        6,208,537.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        6,240,037.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        5,994,562.37


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$       27,829,089.18


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         33,823,651.55




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
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            Case 5:23-bk-00839-MJC                                           Doc 22 Filed 05/12/23 Entered 05/12/23 12:53:31                                                                    Desc
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Fill in this information to identify the case:

Debtor name         Marx Sheet Metal & Mechanical, Inc.

United States Bankruptcy Court for the:     MIDDLE DISTRICT OF PENNSYLVANIA

Case number (if known)       5:23-bk-00839
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number


          3.1.     Univest Bank and Trust Co.                        Checking                              0296                                             $0.00




          3.2.     Univest Bank and Trust Co.                        Payroll                               0320                                             $0.00




          3.3.     Fidelity Bank                                     Checking                              6742                                             $0.00




          3.4.     Fidelity Bank                                     Payroll                               6749                                             $0.00




          3.5.     Fidelity Bank                                     Checking                              1851                                             $0.00



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                           $0.00
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments

Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                                         page 1



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             Name

6. Does the debtor have any deposits or prepayments?

      No. Go to Part 3.
      Yes Fill in the information below.


Part 3:      Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.

11.       Accounts receivable


          11b. Over 90 days old:                    9,599,985.00       -                        5,671,411.00 =....                  $3,928,574.00
                                      face amount                             doubtful or uncollectible accounts



12.       Total of Part 3.                                                                                                      $3,928,574.00
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:      Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.

          General description                Date of the last              Net book value of         Valuation method used   Current value of
                                             physical inventory            debtor's interest         for current value       debtor's interest
                                                                           (Where available)

19.       Raw materials

20.       Work in progress

21.       Finished goods, including goods held for resale

22.       Other inventory or supplies
          Coils and similar
          inventory                                                                  Unknown                                           $10,000.00




23.       Total of Part 5.                                                                                                         $10,000.00
          Add lines 19 through 22. Copy the total to line 84.

24.       Is any of the property listed in Part 5 perishable?
             No
             Yes

25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value                              Valuation method                                Current Value

26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                         page 2


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             Name


             No
             Yes

Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.

          General description                                            Net book value of          Valuation method used   Current value of
                                                                         debtor's interest          for current value       debtor's interest
                                                                         (Where available)

39.       Office furniture

40.       Office fixtures

41.       Office equipment, including all computer equipment and
          communication systems equipment and software
          Assorted office supplies and equipment                                     Unknown                                          $10,000.00



42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles

43.       Total of Part 7.                                                                                                           $10,000.00
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
             No
             Yes

45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes

Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.

          General description                                            Net book value of          Valuation method used   Current value of
          Include year, make, model, and identification numbers          debtor's interest          for current value       debtor's interest
          (i.e., VIN, HIN, or N-number)                                  (Where available)

47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

          47.1.    See attached list                                                 Unknown                                           Unknown



48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
          floating homes, personal watercraft, and fishing vessels

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                        page 3


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             Name

49.       Aircraft and accessories


50.       Other machinery, fixtures, and equipment (excluding farm
          machinery and equipment)
          2021 Iowa Precision Pro-Fabriduct Full Coil
          Line System                                                             Unknown                                                Unknown


          2000 Engel Compact II Coline HVAC Duct
          Manufacturing System                                                    Unknown                                                Unknown


          See attached list                                                       Unknown                                                Unknown



51.       Total of Part 8.                                                                                                                 $0.00
          Add lines 47 through 50. Copy the total to line 87.

52.       Is a depreciation schedule available for any of the property listed in Part 8?
             No
             Yes

53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
             No
             Yes

Part 9:      Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.

55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

          Description and location of           Nature and             Net book value of             Valuation method used   Current value of
          property                              extent of              debtor's interest             for current value       debtor's interest
          Include street address or other       debtor's interest      (Where available)
          description such as Assessor          in property
          Parcel Number (APN), and type
          of property (for example,
          acreage, factory, warehouse,
          apartment or office building, if
          available.
          55.1. Blackman Street
                   Property - Parcel #
                   73-I9NE4 B002 L006           Fee simple                             $0.00                                            $16,500.00


          55.2.    Blackman Street
                   Property Parcel #
                   73-I9NE4-002-005-000         Fee simple                             $0.00                                            $15,000.00




56.       Total of Part 9.                                                                                                            $31,500.00
          Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
          Copy the total to line 88.

57.       Is a depreciation schedule available for any of the property listed in Part 9?
             No
             Yes
Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                              page 4


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              Name



58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
              No
              Yes

Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.


Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.

                                                                                                                               Current value of
                                                                                                                               debtor's interest


71.        Notes receivable
           Description (include name of obligor)
           Loan Receivable from Marx NJ Group                        4,399,926.00 -                           2,199,963.00 =
           d/b/a Halo Marx                                       Total face amount      doubtful or uncollectible amount              $2,199,963.00



72.        Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

73.        Interests in insurance policies or annuities

74.        Causes of action against third parties (whether or not a lawsuit
           has been filed)

75.        Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

76.        Trusts, equitable or future interests in property

77.        Other property of any kind not already listed Examples: Season tickets,
           country club membership
           Key Man Life Insurance on Joseph Marx - Penn Mutual
           Insurance - Cash Surrender Value - May be subject to
           liens                                                                                                                         $60,000.00




78.        Total of Part 11.                                                                                                       $2,259,963.00
           Add lines 71 through 77. Copy the total to line 90.

79.        Has any of the property listed in Part 11 been appraised by a professional within the last year?
              No
              Yes




Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                          page 5


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                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                                     $0.00

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                 $3,928,574.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                               $10,000.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                          $10,000.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

88. Real property. Copy line 56, Part 9.........................................................................................>                          $31,500.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +              $2,259,963.00

91. Total. Add lines 80 through 90 for each column                                                         $6,208,537.00            + 91b.               $31,500.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $6,240,037.00




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                        page 6


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Fill in this information to identify the case:

Debtor name         Marx Sheet Metal & Mechanical, Inc.

United States Bankruptcy Court for the:           MIDDLE DISTRICT OF PENNSYLVANIA

Case number (if known)             5:23-bk-00839
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
Part 1:     List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
      American Contractors
2.1                                                Describe debtor's property that is subject to a lien                          $0.00               Unknown
      Indemnity Co.
      Creditor's Name
      801 S. Figueroa St
      Suite 700
      Los Angeles, CA 90017
      Creditor's mailing address                   Describe the lien
                                                   Blanket Lien on all corporate assets
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.



2.2   Berkley Insurance Co.                        Describe debtor's property that is subject to a lien                     Unknown                       $0.00
      Creditor's Name

      475 Steamboat Road
      Greenwich, CT 06830
      Creditor's mailing address                   Describe the lien
                                                   Blanket Lien on all corporate assets
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply


Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 4



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            Name

          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



      GreatAmerica Financial
2.3                                                                                                                        $21,166.94        Unknown
      Services                                    Describe debtor's property that is subject to a lien
      Creditor's Name                             Trimble Equipment
      625 First Street
      Cedar Rapids, IA
      52401-2030
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.4   Univest Bank and Trust Co.                  Describe debtor's property that is subject to a lien                 $2,200,894.69         Unknown
      Creditor's Name                             2021 Iowa Precision Pro-Fabriduct Full Coil
                                                  Line System
      14 N. Main Street
      Souderton, PA 18964
      Creditor's mailing address                  Describe the lien
                                                  Blanket Lien on all corporate assets
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.5   Univest Bank and Trust Co.                  Describe debtor's property that is subject to a lien                 $3,757,168.74         Unknown
      Creditor's Name                             2000 Engel Compact II Coline HVAC Duct
                                                  Manufacturing System
      14 N. Main Street
      Souderton, PA 18964
      Creditor's mailing address                  Describe the lien
                                                  Blanket Lien on all corporate assets
                                                  Is the creditor an insider or related party?
                                                     No

Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                             page 2 of 4



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             Name

       Creditor's email address, if known              Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                         No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.



       US Bank Equipment
2.6                                                                                                                          $15,332.00              Unknown
       Finance                                     Describe debtor's property that is subject to a lien
       Creditor's Name                             Equipment
       1310 Madrid Street
       Marshall, MN 56258
       Creditor's mailing address                  Describe the lien

                                                   Is the creditor an insider or related party?
                                                      No
       Creditor's email address, if known              Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                         No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       8600
       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.



                                                                                                                            $5,994,562.3
3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                       7

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity
        David Gilliss, Esquire
        White & Williams                                                                                     Line   2.2
        600 Washington Ave, Suite 303
        Towson, MD 21204

        Paige Willan, Esquire
        Klehr Harrison Harvey Branzburg                                                                      Line   2.4
        1835 Market Street, Suite 1400
        Philadelphia, PA 19103

        Simmons Perrine Moyer Bergman
        1150 Fifth Avenue                                                                                    Line   2.3
        Suite 170
        Coralville, IA 52241

Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 3 of 4



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Fill in this information to identify the case:

Debtor name        Marx Sheet Metal & Mechanical, Inc.

United States Bankruptcy Court for the:         MIDDLE DISTRICT OF PENNSYLVANIA

Case number (if known)           5:23-bk-00839
                                                                                                                                               Check if this is an
                                                                                                                                               amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                              12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                 Total claim           Priority amount

2.1       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                             Unknown           Unknown
          Commonwealth of Pennsylvania                        Check all that apply.
          Dept of Revenue                                        Contingent
          PO Box 280946                                          Unliquidated
          Harrisburg, PA 17128                                   Disputed

          Date or dates debt was incurred                     Basis for the claim:


          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                 Yes


2.2       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                             Unknown           Unknown
          Internal Revenue Service                            Check all that apply.
                                                                 Contingent
          Bankruptcy Specialist PO Box                           Unliquidated
          7346                                                   Disputed
          Philadelphia, PA 19101-7346
          Date or dates debt was incurred                     Basis for the claim:


          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                 Yes




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2.3       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                       Unknown   Unknown
          Luzerne County Treasurer                             Check all that apply.
          20 N. Pennsylvania Avenue                               Contingent
          Wilkes Barre, PA 18701                                  Unliquidated
                                                                  Disputed

          Date or dates debt was incurred                      Basis for the claim:
                                                               Real Estate Taxes
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes



Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $6,840.92
          A-Verdi                                                                Contingent
          14150 Route 31                                                         Unliquidated
          Savannah, NY 13146                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

3.2       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,674.51
          A.J. Blosenski, Inc.                                                   Contingent
          A Waste Connections Company                                            Unliquidated
          PO Box 392                                                             Disputed
          Elverson, PA 19520-0392
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number 5837                               Is the claim subject to offset?     No       Yes


3.3       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,000.00
          Abe Solomon Realty Co.                                                 Contingent
          701 S Main Street                                                      Unliquidated
          Wilkes Barre, PA 18702                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

3.4       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,277.24
          Able Equipment Rental Inc.                                             Contingent
          PO Box 69335                                                           Unliquidated
          Baltimore, MD 21264-9335                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

3.5       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $34,263.97
          Accuspec, Inc.                                                         Contingent
          c/o The Kaighn Company                                                 Unliquidated
          663 Raritan Road, Suite C                                              Disputed
          Cranford, NJ 07016
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,590.31
         Acia, LTD                                                    Contingent
         PO Box 127                                                   Unliquidated
         Emigsville, PA 17318                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $522.08
         Action Lift, Inc.                                            Contingent
         1 Memco Dr.                                                  Unliquidated
         Pittston, PA 18640                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 0855
                                                                   Is the claim subject to offset?     No       Yes

3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $846.00
         Admar                                                        Contingent
         121 Armstrong Road                                           Unliquidated
         Pittston, PA 18640                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $8,101.85
         Advance Controls, Inc.                                       Contingent
         4505 18th Street                                             Unliquidated
         Bradenton, FL 34203                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $396,434.06
         Advanced Speciality Contractor                               Contingent
         1077 Commercial Ave.                                         Unliquidated
         East Petersburg, PA 17520                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,258.67
         Airflow Company                                              Contingent
         PO Box 630609                                                Unliquidated
         Baltimore, MD 21263-0609                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $34,296.56
         Airgas USA, LLC                                              Contingent
         6055 Rockside Woods Blvd. N.                                 Unliquidated
         Independence, OH 44131-2329                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 6185
                                                                   Is the claim subject to offset?     No       Yes




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3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $546.94
         AJB Trash & Recycling Service                                Contingent
         PO Box 392                                                   Unliquidated
         Elverson, PA 19520                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $8,593.00
         Albireo Energy LLC                                           Contingent
         126 Sandy Drive                                              Unliquidated
         Newark, DE 19713                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,100.00
         American Arbitration Association                             Contingent
         120 Broadway                                                 Unliquidated
         21st Floor                                                   Disputed
         New York, NY 10271
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,050.00
         American Geophysics, Inc.                                    Contingent
         180 Main Street, #177                                        Unliquidated
         Butler, NJ 07405                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $68,299.81
         American Strip Steel                                         Contingent
         901 Coopertown Road                                          Unliquidated
         Delanco, NJ 08078                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $10,572.00
         AMICO                                                        Contingent
         85 Fulton Way, Richmon Hill                                  Unliquidated
         Ontario, Canada L4B2N4                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $133.36
         Anthracite Rubber                                            Contingent
         PO Box F                                                     Unliquidated
         Shavertown, PA 18708-0878                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number MARX
                                                                   Is the claim subject to offset?     No       Yes




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3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $64.43
         APR Supply Co.                                               Contingent
         749 West Guilford Street                                     Unliquidated
         Lebanon, PA 17046                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $566.26
         ARC Document Solutions LLC                                   Contingent
         417 North 8th Street                                         Unliquidated
         Philadelphia, PA 19123                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $45.00
         Ascensus                                                     Contingent
         23693 Network Place                                          Unliquidated
         Chicago, IL 60673-1236                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,859.00
         Assured Partners                                             Contingent
         1130 Highway 315                                             Unliquidated
         Wilkes Barre, PA 18702                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.24     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $4,971.00
         Astro Pak                                                    Contingent
         270 E. Baker Street                                          Unliquidated
         Suite 100                                                    Disputed
         Costa Mesa, CA 92626
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.25     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $125.00
         Atlantic Propane                                             Contingent
         PO Box 3516                                                  Unliquidated
         Scranton, PA 18505                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.26     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $4,251.00
         ATMOS-TECH INDUSTRIES                                        Contingent
         1108 Pollack Ave.                                            Unliquidated
         Ocean, NJ 07712                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.27     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $9,523.04
         Banner Industries                                            Contingent
         One Industrial Drive                                         Unliquidated
         Danvers, MA 01923                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.28     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $441.78
         BBC International                                            Contingent
         PO Box 434                                                   Unliquidated
         New Hope, PA 18938                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.29     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $44,424.03
         BeaconMeades                                                 Contingent
         1059 Paragon Way                                             Unliquidated
         Rock Hill, SC 29730                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.30     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $90.10
         Beaver Valley Environmental, L                               Contingent
         714 Beaver Valley Road                                       Unliquidated
         Bloomsburg, PA 17815                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.31     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $627.87
         Best Line Equipment                                          Contingent
         2582 Gateway Drive                                           Unliquidated
         State College, PA 16801                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.32     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $4,176.23
         Betz Mechanical & Industrial Suppli                          Contingent
         P.O. Box 16210                                               Unliquidated
         Philadelphia, PA 19114                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 7901
                                                                   Is the claim subject to offset?     No       Yes

3.33     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $89,538.56
         Binghamton Hardware Co.                                      Contingent
         PO Box 927                                                   Unliquidated
         101 Eldredge Street                                          Disputed
         Binghamton, NY 13902-0927
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.34     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,322.00
         Blankin Equipment                                            Contingent
         489 Shoemaker Road                                           Unliquidated
         King of Prussia, PA 19406                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.35     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $39,050.00
         Blue Sky Controls                                            Contingent
         1801 Market Street                                           Unliquidated
         Suite 220                                                    Disputed
         Philadelphia, PA 19103
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.36     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $16,040.50
         Brandsafway                                                  Contingent
         740 Veterans Drive                                           Unliquidated
         Swedesboro, NJ 08085                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.37     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $65.00
         Builders Supply Co.                                          Contingent
         PO Box 192                                                   Unliquidated
         Wilkes Barre, PA 18703-0192                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number R600
                                                                   Is the claim subject to offset?     No       Yes

3.38     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $250.39
         Burt Process Equipment                                       Contingent
         PO Box 185100                                                Unliquidated
         Hamden, CT 06518                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.39     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,897.43
         Bush Distributors                                            Contingent
         504 E. Wingohocking Street                                   Unliquidated
         Philadelphia, PA 19120                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.40     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $9,990.50
         BWS                                                          Contingent
         PO Box 954                                                   Unliquidated
         Glenside, PA 19038                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.41     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,407.00
         C.H. Reed                                                    Contingent
         301 Poplar Street                                            Unliquidated
         Hanover, PA 17331                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.42     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $122,323.37
         Camden Yards Steel                                           Contingent
         2500 Broadway                                                Unliquidated
         Drawer 14                                                    Disputed
         Camden, NJ 08104
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.43     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $220.13
         Canon Financial Services, Inc.                               Contingent
         14904 Collections Center Dr.                                 Unliquidated
         Chicago, IL 60693-0149                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.44     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $187.50
         Capital Group American Funds                                 Contingent
         PO Box 659530                                                Unliquidated
         San Antonio, TX 78265-9530                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.45     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $835.39
         Cardmember Service                                           Contingent
         PO Box 106                                                   Unliquidated
         Saint Louis, MO 63166-0108                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.46     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,668.99
         Carpenter & Paterson, Inc.                                   Contingent
         PO Box 347831                                                Unliquidated
         Pittsburgh, PA 15251-4876                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.47     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $25,864.00
         Carrier Corporation                                          Contingent
         29917 Network Place                                          Unliquidated
         Chicago, IL 60673-1299                                       Disputed
         Date(s) debt was incurred 12.14.22 - 8.31.22
                                                                   Basis for the claim:
         Last 4 digits of account number 5716
                                                                   Is the claim subject to offset?     No       Yes




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3.48     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $86.40
         Central Clay Products, Inc.                                  Contingent
         101 Scott Street                                             Unliquidated
         Wilkes Barre, PA 18702                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.49     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,150.00
         Chesco Coring and Cutting                                    Contingent
         2047 Charlestown Road                                        Unliquidated
         Malvern, PA 19355                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.50     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,605.42
         Cintas Corporation                                           Contingent
         1065 Hanover Street                                          Unliquidated
         Wilkes Barre, PA 18707                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.51     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $51.69
         Circle Bolt & Nut Co., Inc.                                  Contingent
         158 Pringle Street                                           Unliquidated
         Kingston, PA 18704                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.52     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $306.00
         City of Philadelphia                                         Contingent
         Parking Violations                                           Unliquidated
         PO Box 41819                                                 Disputed
         Philadelphia, PA 19101
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number 6593                      Is the claim subject to offset?     No       Yes


3.53     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $26.50
         City of Wilkes Barre                                         Contingent
         40 East Market Street                                        Unliquidated
         Wilkes Barre, PA 18711                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.54     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,120.00
         Clapp Associates, Inc.                                       Contingent
         1325 O'Reilly Drive                                          Unliquidated
         Feasterville Trevose, PA 19053                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.55     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $11,940.00
         Clean Work Booth, Inc.                                       Contingent
         2344 Jones Road                                              Unliquidated
         Jacksonville, FL 32220                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.56     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $10,244.00
         Clear Spring Insurance                                       Contingent
         PO Box 74007141                                              Unliquidated
         Chicago, IL 60674-7141                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.57     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $7,800.00
         CM3 Building Solutions                                       Contingent
         185 Commerce Drive                                           Unliquidated
         Suite 200                                                    Disputed
         Fort Washington, PA 19034
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.58     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $48,463.83
         Cohen, Seglias, Pallas                                       Contingent
         30 South 17th Street                                         Unliquidated
         Philadelphia, PA 19102-1912                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.59     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $17,000.00
         Cohnreznick LLP                                              Contingent
         101 Crawfords Corner Road                                    Unliquidated
         Holmdel, NJ 07733                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.60     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $13,656.74
         Colony Hardware Corp.                                        Contingent
         101 Wesley Drive                                             Unliquidated
         Mechanicsburg, PA 17055                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.61     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $295,077.50
         Commonwealth of PA. Dept of Labor                            Contingent
         & Industry - Unemployment Comp Fund                          Unliquidated
         651 Boas Street                                              Disputed
         Harrisburg, PA 17121-0750
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number 6277                      Is the claim subject to offset?     No       Yes




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3.62     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $9,575.89
         Comprehensive Test & Balance                                 Contingent
         55 Park Drive                                                Unliquidated
         Dover, PA 17315                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.63     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $73,164.00
         Conner Strong & Buckelew                                     Contingent
         40 Lake Center                                               Unliquidated
         Suite 300                                                    Disputed
         Marlton, NJ 08053
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.64     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $18,130.75
         Cooney Coil & Energy, Inc.                                   Contingent
         c/o Richard T. Avis, Esq.                                    Unliquidated
         P.O. Box 31579                                               Disputed
         Chicago, IL 60631
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number 4636                      Is the claim subject to offset?     No       Yes


3.65     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $15,672.90
         Cooney Technologies                                          Contingent
         20130 Valley Forge Circle                                    Unliquidated
         King of Prussia, PA 19406                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.66     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,465.35
         Cooper Electric Co.                                          Contingent
         1321 Wyoming Ave.                                            Unliquidated
         Exeter, PA 18643                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.67     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $424.00
         Credit Collection Services                                   Contingent
         725 Canton Street                                            Unliquidated
         Norwood, MA 02062                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: NJ EzPass
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.68     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $210.00
         CVI Protective Services                                      Contingent
         1075 Oak Street                                              Unliquidated
         Pittston, PA 18640                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.69     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $144,968.93
         Daikin Applied Americas, Inc.                                Contingent
         13600 Industrial Park Blvd.                                  Unliquidated
         Minneapolis, MN 55441                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.70     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $199.28
         Danko Gas Service                                            Contingent
         124 Parrish Road                                             Unliquidated
         Laurel Run, PA 18706                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.71     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $95,940.20
         DB Utility Contractors LLC                                   Contingent
         1250 Bethlehem Pike                                          Unliquidated
         Hatfield, PA 19440                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.72     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,499.71
         De Lage Landen Financial                                     Contingent
         PO Box 41602                                                 Unliquidated
         Philadelphia, PA 19101                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.73     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $30,793.58
         Deacon Industrial Supply Co                                  Contingent
         c/o CCC of New York                                          Unliquidated
         PO Box 288                                                   Disputed
         Tonawanda, NY 14151-0288
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number 9448                      Is the claim subject to offset?     No       Yes


3.74     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $4,091.00
         Del Val Equipment                                            Contingent
         604 General Washington Ave.                                  Unliquidated
         Norristown, PA 19403                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.75     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $43,291.00
         Delren HVAC, Inc.                                            Contingent
         141 Shreve Ave.                                              Unliquidated
         Barrington, NJ 08007                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.76     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $17,522.00
         Delta Contracting Services                                   Contingent
         12 Connerty Court                                            Unliquidated
         Unit A                                                       Disputed
         East Brunswick, NJ 08816
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.77     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $34,062.35
         Delta Electrical Systems, Inc.                               Contingent
         11 Garfield Street                                           Unliquidated
         Nanticoke, PA 18634                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.78     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $10,256.56
         Deltek+Computerease                                          Contingent
         62 Dallas Shopping Center 380                                Unliquidated
         Dallas, PA 18612                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.79     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $64.80
         Design Plastic Systems, Inc.                                 Contingent
         2560 Blvd. of the Generals                                   Unliquidated
         Norristown, PA 19403                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.80     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,663.10
         Diamond Manufacturing Company                                Contingent
         243 West Eighth Street                                       Unliquidated
         Wyoming, PA 18644                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.81     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $24,417.81
         Diamond Tool                                                 Contingent
         2800 Grays Ferry Avenue                                      Unliquidated
         Philadelphia, PA 19146                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.82     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         DOT Compliance Group                                         Contingent
         PO Box 5090                                                  Unliquidated
         Tyler, TX 75712                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.83     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $7,100.00
         Dunmore Roofing & Supply                                     Contingent
         PO Box 2                                                     Unliquidated
         Dunmore, PA 18512                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.84     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $8,034.80
         DVL                                                          Contingent
         115 Sinclair Road                                            Unliquidated
         Bristol, PA 19007                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.85     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $30,000.00
         Dynamic Balancing Co., Inc.                                  Contingent
         831 Crooked Lane                                             Unliquidated
         King of Prussia, PA 19406                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.86     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $8,962.00
         EF Siegfried LLC                                             Contingent
         1811 Walnut Avenue                                           Unliquidated
         Oreland, PA 19075                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.87     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $362,284.70
         Elan Sales                                                   Contingent
         co US Bank Corporate Payment System                          Unliquidated
         12800 Foster Street                                          Disputed
         Overland Park, KS 66213
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number CPS Collections           Is the claim subject to offset?     No       Yes


3.88     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $45,349.77
         Elgen Manufacturing                                          Contingent
         PO Box 563                                                   Unliquidated
         Bedford Park, IL 60499-0536                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.89     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $21,433.48
         Elite Air Systems                                            Contingent
         57 Ash CTR                                                   Unliquidated
         Warminster, PA 18974-4800                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.90     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $10,294.98
         Elite Revenue Solutions LLC                                  Contingent
         100 N. Wilkes-Barre Blvd.                                    Unliquidated
         Wilkes Barre, PA 18702                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.91     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $19,233.28
         EMS                                                          Contingent
         1295 Industrial Center, 604                                  Unliquidated
         Westville, NJ 08093                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.92     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $31,433.48
         Energy Transfer Solutions                                    Contingent
         1220 Ward Ave.                                               Unliquidated
         West Chester, PA 19380                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.93     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $373.78
         Engineered Air                                               Contingent
         c/o Commerce Bank                                            Unliquidated
         PO Box 1618                                                  Disputed
         Kansas City, MO 64180-1618
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.94     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $795,661.87
         Engineered Building Systems                                  Contingent
         PO Box 1171                                                  Unliquidated
         Wilkes Barre, PA 18703-1171                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.95     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $9,990.78
         Enhanced Systems & Products                                  Contingent
         4700 Watson Drive                                            Unliquidated
         Doylestown, PA 18902                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.96     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $10,437.23
         Enterprise Fleet Mgmt.                                       Contingent
         P.O. Box 800089                                              Unliquidated
         Kansas City, MO 64180-0089                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 7410
                                                                   Is the claim subject to offset?     No       Yes




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3.97     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $21,830.43
         Enterprise FM Trust                                          Contingent
         Enterprise Fleet Mgt Cust                                    Unliquidated
         PO Box 0089                                                  Disputed
         Kansas City, MO 64180-0089
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.98     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $50,408.94
         Equipment Share                                              Contingent
         5710 Bull Run Drive                                          Unliquidated
         Columbia, MO 65201                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 7787
                                                                   Is the claim subject to offset?     No       Yes

3.99     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $22,001.15
         ERB Company                                                  Contingent
         c/o CCC of New York                                          Unliquidated
         PO Box 288                                                   Disputed
         Tonawanda, NY 14151-0288
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.100    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $22,266.57
         F.W. Webb Company                                            Contingent
         1665 East Race Street                                        Unliquidated
         Allentown, PA 18109                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.101    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Falasca Mechnical Inc                                        Contingent
         3329 N. Mill Road                                            Unliquidated
         Vineland, NJ 08360                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.102    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $4,056.72
         Falzone's Towing Service Inc.                                Contingent
         271 North Sherman Street                                     Unliquidated
         Wilkes Barre, PA 18702                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.103    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,243.63
         Fastenal Company                                             Contingent
         PO Box 1286                                                  Unliquidated
         Winona, MN 55987                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.104    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $340,322.24
         Ferguson HVAC                                                Contingent
         PO Box 417592                                                Unliquidated
         Boston, MA 02241-7592                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.105    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Fidelity Bank                                                Contingent
         PO Box 997                                                   Unliquidated
         Scranton, PA 18501                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.106    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $32,300.00
         Fisher Balancing Company                                     Contingent
         1799 Glassboro-Cross Keys Road                               Unliquidated
         Williamstown, NJ 08094                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.107    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,900.20
         Foley Rents                                                  Contingent
         2973 Galloway Road                                           Unliquidated
         Bensalem, PA 19020                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.108    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $432.83
         Foundation Building Materials                                Contingent
         2 Stevens Rd.                                                Unliquidated
         Wilkes Barre, PA 18702                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.109    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $8,367.00
         Fox Tapping, Inc.                                            Contingent
         1112 Nursery Road                                            Unliquidated
         Wrightsville, PA 17368                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.110    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $739.37
         G&S Fasteners Systems                                        Contingent
         600 Front Street                                             Unliquidated
         Whitehall, PA 18052                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Marx Sheet Metal & Mechanical, Inc.                                             Case number (if known)            5:23-bk-00839
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3.111    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $132.00
         Gage-It, Inc.                                                Contingent
         94 N Branch Street                                           Unliquidated
         Sellersville, PA 18960                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.112    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $0.00
         GE Appliances, a HAIER Company                               Contingent
         PO Box 412233                                                Unliquidated
         Boston, MA 02241-2330                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.113    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            Unknown
         General Aire Systems, Inc                                    Contingent
         PO Box 110                                                   Unliquidated
         Darby, PA 19023                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.114    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $11,912,071.63
         Genesis Engineers, Inc.                                      Contingent
         One Sentry Parkway, Suite 100                                Unliquidated
         Blue Bell, PA 19422                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.115    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,489.98
         GFL/County Waste                                             Contingent
         PO Box 555193                                                Unliquidated
         Detroit, MI 48255-5193                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.116    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $20,353.06
         Gil-Bar Solutions                                            Contingent
         711 N. York Road                                             Unliquidated
         Willow Grove, PA 19090                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.117    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $298.59
         Glen Summit Springs Water Co.                                Contingent
         PO Box 129                                                   Unliquidated
         Mountain Top, PA 18707                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.118    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $317.99
         Gold Star Wide Format                                        Contingent
         33 S. Wilkes-Barre Slvd.                                     Unliquidated
         North Suite                                                  Disputed
         Wilkes Barre, PA 18702
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.119    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $174.19
         Golden Business Machines, Inc.                               Contingent
         165 Church Street                                            Unliquidated
         Kingston, PA 18704-0700                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.120    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $233.42
         Goodman Air Conditioning & Heating                           Contingent
         PO Box 660503                                                Unliquidated
         Dallas, TX 75266-0503                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.121    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $975.00
         GPRS                                                         Contingent
         5217 Monroe Street                                           Unliquidated
         Suite A                                                      Disputed
         Toledo, OH 43623
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.122    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $9,242.82
         Grainger                                                     Contingent
         Dept. 748 - 815859715                                        Unliquidated
         Palatine, IL 60038-0001                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.123    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $671,618.67
         Guller Commercial & Industrial                               Contingent
         652 Germantown Pike                                          Unliquidated
         Lafayette Hill, PA 19444                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.124    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $52,658.00
         H&H Sales Associates, Inc.                                   Contingent
         4510A Westport Drive                                         Unliquidated
         Mechanicsburg, PA 17055                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.125    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $20,277.30
         H&H Service Company                                          Contingent
         4510A Westport Drive                                         Unliquidated
         Mechanicsburg, PA 17055                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.126    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $299,735.07
         H.C. NYE Company                                             Contingent
         6405 Flank Drive                                             Unliquidated
         Harrisburg, PA 17112                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.127    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $10,257.90
         Hajoca Corp dba Eastern Penn Supply                          Contingent
         473 Epsco Berwick                                            Unliquidated
         7612 Columbia Blvd.                                          Disputed
         Berwick, PA 18603-9043
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number 5704                      Is the claim subject to offset?     No       Yes


3.128    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $11,516.07
         Hale Trailer                                                 Contingent
         PO Box 1400                                                  Unliquidated
         Voorhees, NJ 08043                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.129    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $21,917.28
         Harrington Industrial Plastics                               Contingent
         PO Box 676273                                                Unliquidated
         Dallas, TX 75267-6273                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.130    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,020.18
         Haun Welding Supply Inc.                                     Contingent
         16 Keystone Industrial Park                                  Unliquidated
         Scranton, PA 18512                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.131    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $33,971.30
         HCT Control Technology                                       Contingent
         130 Gedney Road                                              Unliquidated
         Lawrence Township, NJ 08648                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.132    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,900.00
         Herman Goldner Co.                                           Contingent
         7777 Brewster Ave.                                           Unliquidated
         Philadelphia, PA 19153                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.133    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $728.45
         Higher Informaiton Group                                     Contingent
         400 North Blue Ribbon Avenue                                 Unliquidated
         Harrisburg, PA 17112                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.134    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,070.77
         HILTI Inc.                                                   Contingent
         PO Box 70299                                                 Unliquidated
         Philadelphia, PA 19176-0299                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.135    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $662.29
         Home Depot Credit Services                                   Contingent
         P.O. Box 6405                                                Unliquidated
         Sioux Falls, SD 57117-6405                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 0055
                                                                   Is the claim subject to offset?     No       Yes

3.136    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Honeywell International Inc.                                 Contingent
         1985 Douglas Drive                                           Unliquidated
         Golden Valley, MN 55442                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.137    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $12,440.25
         Hose Power                                                   Contingent
         2075 High Hill Road                                          Unliquidated
         Logan Township, NJ 08085                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.138    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,782.00
         HPS Specialties                                              Contingent
         PO Box 4284                                                  Unliquidated
         Media, PA 19063                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.139    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         HVAC Distributors Inc.                                       Contingent
         Two Old Market Street                                        Unliquidated
         Mount Joy, PA 17552-0160                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.140    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $25,794.31
         I B Dickison & Sons Inc.                                     Contingent
         1089 Van Reed Road                                           Unliquidated
         Reading, PA 19605                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.141    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $243,121.75
         IAR Inc.                                                     Contingent
         119 Cooper Street                                            Unliquidated
         Babylon, NY 11702                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.142    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,350.00
         Independent Balancing Compnay                                Contingent
         4052 Ridge Ave.                                              Unliquidated
         Philadelphia, PA 19129                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.143    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $160,200.00
         Integrated Systems Solutions                                 Contingent
         1432 Oak Drive                                               Unliquidated
         Shavertown, PA 18708                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.144    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $17,794.75
         Integritec, Inc.                                             Contingent
         5093 N. Lehigh Groge Road                                    Unliquidated
         White Haven, PA 18661                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.145    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,364.50
         Interstate Chemical Company                                  Contingent
         2797 Freedland Road                                          Unliquidated
         Hermitage, PA 16148                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.146    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $106.00
         IRR Supply Centers                                           Contingent
         908 Niagara Falls Blvd.                                      Unliquidated
         North Tonawanda, NY 14120                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.147    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $15,586.32
         J.F. Martin Inc.                                             Contingent
         4170 Richmond Street                                         Unliquidated
         Philadelphia, PA 19137                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.148    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,766.89
         JGF Funding                                                  Contingent
         400 North Blue Ribbon Avenue                                 Unliquidated
         Harrisburg, PA 17112                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.149    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,154.17
         JHP Industrial Supply Co.                                    Contingent
         321 W Taylor Street                                          Unliquidated
         Syracuse, NY 13202                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.150    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $119,199.27
         John F. Scanlan, Inc.                                        Contingent
         1238-46 Belmont Avenue                                       Unliquidated
         Philadelphia, PA 19104                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.151    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,272.00
         Johnson Controls Inc.                                        Contingent
         27 Jackson Rd., Suite 303                                    Unliquidated
         Devens, MA 01434                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.152    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,745.96
         Joseph F. O'Hora and Sons, Inc.                              Contingent
         1400-02 N. Washington Ave.                                   Unliquidated
         Scranton, PA 18509                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.153    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $24,536.32
         JPC Group, Inc.                                              Contingent
         1309 Harmony Street                                          Unliquidated
         Philadelphia, PA 19146                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.154    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $6,340.00
         KEM-TUFF                                                     Contingent
         32 Boyer Circle                                              Unliquidated
         Williston, VT 05495                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.155    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,460.05
         Kirm & Blum                                                  Contingent
         8735 W Market St                                             Unliquidated
         Greensboro, NC 27409                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.156    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,677.53
         Klenzoid                                                     Contingent
         PO Box 389                                                   Unliquidated
         Conshohocken, PA 19428                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.157    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $17,357.57
         Kolbi Pipe Markers                                           Contingent
         3727 N. Ventura Drive                                        Unliquidated
         Arlington Heights, IL 60004                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.158    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,374.65
         KONE                                                         Contingent
         P.O. Box 22251                                               Unliquidated
         New York, NY 10087-2251                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 5412
                                                                   Is the claim subject to offset?     No       Yes

3.159    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $532,305.00
         Lackawanna American Insurance Co.                            Contingent
         46 Public Square                                             Unliquidated
         Ste 501                                                      Disputed
         Wilkes Barre, PA 18701
                                                                   Basis for the claim: Premiums
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.160    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $17,745.40
         Lane's Crane Service                                         Contingent
         1024-26 Springbrook Avenue                                   Unliquidated
         Moosic, PA 18507                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.161    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $26.47
         Lee Electric                                                 Contingent
         240 Hickory Street                                           Unliquidated
         Scranton, PA 18505                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.162    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $42,906.00
         LF Driscoll                                                  Contingent
         401 East City Avenue                                         Unliquidated
         Suite 500                                                    Disputed
         Bala Cynwyd, PA 19004
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.163    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         LGH                                                          Contingent
         9925 Industrial Drive                                        Unliquidated
         Bridgeview, IL 60455                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.164    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $141,510.32
         Local 25 Sheet Metal Benefit Funds                           Contingent
         c/o Ryan Sweeney, Esq.                                       Unliquidated
         325 Chestnut St., Suite 200                                  Disputed
         Philadelphia, PA 19106
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.165    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Local 27- Trustees                                           Contingent
         c/o O'Brien Belland & Bushinsky LLC                          Unliquidated
         509 S. Lenola Rd., Bldg. 6                                   Disputed
         Moorestown, NJ 08057
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.166    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $195,056.43
         Louis P. Canuso, Inc.                                        Contingent
         401 Crown Point Road                                         Unliquidated
         Thorofare, NJ 08086                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.167    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,960.00
         Major Medical Hospital Service                               Contingent
         150 Cooper Road                                              Unliquidated
         Suite G-20                                                   Disputed
         West Berlin, NJ 08091
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.168    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $641,616.12
         MAS Construction Services                                    Contingent
         121 Market Street                                            Unliquidated
         Suite 316                                                    Disputed
         Camden, NJ 08102
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.169    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,162.00
         Mason Industries                                             Contingent
         PO Box 410                                                   Unliquidated
         Smithtown, NY 11787                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.170    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $4,387.76
         McCarthy Tire & Auto Center                                  Contingent
         PO Box 1125                                                  Unliquidated
         Wilkes Barre, PA 18703-1125                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.171    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $9,233.00
         McGregor Industries, Inc.                                    Contingent
         46 Line Street                                               Unliquidated
         Dunmore, PA 18512                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.172    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $314.84
         McMaster-Carr Supply Co.                                     Contingent
         PO Boz 7690                                                  Unliquidated
         Chicago, IL 60680-7690                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 0418
                                                                   Is the claim subject to offset?     No       Yes

3.173    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,432.00
         Medical Gas Solutions, Inc.                                  Contingent
         20 McDonald Blvd.                                            Unliquidated
         Aston, PA 19014                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.174    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $7,966.83
         Meier Supply Co., Inc.                                       Contingent
         275 Broome Corporate Prwy                                    Unliquidated
         Conklin, NY 13748                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.175    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $51,574.35
         MLP Plumbing & Mechanical                                    Contingent
         3198 Union Road                                              Unliquidated
         Suite 300                                                    Disputed
         Cheektowaga, NY 14227
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.176    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $22,358.20
         Modern Fasteners                                             Contingent
         1701-A Loretta Avenue                                        Unliquidated
         Feasterville Trevose, PA 19053                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.177    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $28,299.00
         Modular Services Company                                     Contingent
         500 East Britton Road                                        Unliquidated
         Oklahoma City, OK 73114                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.178    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $6,122.82
         Montana Dept. of Labor & Industry                            Contingent
         Unemployment Insurance Div.                                  Unliquidated
         P.O. Box 6339                                                Disputed
         Helena, MT 59604-6339
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number 0383                      Is the claim subject to offset?     No       Yes


3.179    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $4,439.00
         Montana Dept. of Revenue                                     Contingent
         PO Box 6309                                                  Unliquidated
         Helena, MT 59604-6309                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.180    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $26,700.00
         Mountain Air Balancing                                       Contingent
         PO Box 598                                                   Unliquidated
         Tunkhannock, PA 18657                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.181    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $28,204.68
         MPF Insulation LLC                                           Contingent
                                                                      Unliquidated
         Date(s) debt was incurred                                    Disputed
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?     No       Yes

3.182    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $48,203.17
         Nefco Corporation                                            Contingent
         415 Boot Road                                                Unliquidated
         Downingtown, PA 19335                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.183    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         New Jersey Department of Labor                               Contingent
         and Workforce Development                                    Unliquidated
         PO Box 058                                                   Disputed
         Trenton, NJ 08625-0058
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.184    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         New York State                                               Contingent
         Department of Labor                                          Unliquidated
         PO Box 15130                                                 Disputed
         Albany, NY 12212-5130
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.185    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         New York State Department of Labor                           Contingent
         Unemployment Insurance Divison                               Unliquidated
         PO Box 15122                                                 Disputed
         Albany, NY 12212-5122
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.186    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,373.00
         New York State Dept of Taxation Fin                          Contingent
         PO Box 15012                                                 Unliquidated
         Albany, NY 12212-5012                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.187    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         New York State Dept. of                                      Contingent
         Taxation & Finance Civil Enforcemen                          Unliquidated
         WA Harriman Campus                                           Disputed
         Albany, NY 12220-0841
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.188    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $4,139.41
         Newell Fuel Service                                          Contingent
         PO Box B                                                     Unliquidated
         Dallas, PA 18612                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.189    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $26,302.00
         Nexgen Automation, Inc.                                      Contingent
         4501 Chambers Hill Road                                      Unliquidated
         Harrisburg, PA 17111                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.190    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,616.55
         Nissan Motor Acceptance                                      Contingent
         PO Box 740596                                                Unliquidated
         Cincinnati, OH 45274-0596                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.191    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $766.91
         Nivert Metals                                                Contingent
         1100 Marshwood Road                                          Unliquidated
         Scranton, PA 18512                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.192    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $351.25
         NJ E-ZPass                                                   Contingent
         c/o CCS USA                                                  Unliquidated
         725 Canton Street                                            Disputed
         Norwood, MA 02062
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.193    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $112,592.24
         NRG Controls                                                 Contingent
         PO Box 235                                                   Unliquidated
         Selinsgrove, PA 17870                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.194    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $754.72
         Nutech Hydronic Specialty Prod                               Contingent
         2705 Clemens Road                                            Unliquidated
         Hatfield, PA 19440                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.195    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,019.67
         NYSIF Disability Benefits                                    Contingent
         PO Box 5520                                                  Unliquidated
         Binghamton, NY 13902-5520                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.196    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $91.00
         Occupational Health Centers                                  Contingent
         of Southwest PA, PC                                          Unliquidated
         PO Box 8750                                                  Disputed
         Elkridge, MD 21075-3214
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number 4861                      Is the claim subject to offset?     No       Yes


3.197    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $11,703.81
         Onicon                                                       Contingent
         11451 Belcher Road                                           Unliquidated
         South Largo, FL 33773                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.198    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $23.32
         Orange County Winsupply                                      Contingent
         157 Bracken Road                                             Unliquidated
         Montgomery, NY 12549-2602                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.199    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $121,149.97
         PA Unemployment Compensation Fund                            Contingent
         PO Box 60848                                                 Unliquidated
         Harrisburg, PA 17106-0848                                    Disputed
         Date(s) debt was incurred 2/2022, 3/2022, 4/2022
                                                                   Basis for the claim:
         Last 4 digits of account number 7323
                                                                   Is the claim subject to offset?     No       Yes

3.200    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $145.03
         PA-American Water Co.                                        Contingent
         PO Box 371412                                                Unliquidated
         Pittsburgh, PA 15250-7412                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.201    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,449.81
         Parsons Sales Co., Inc.                                      Contingent
         310 George Avenue                                            Unliquidated
         Wilkes Barre, PA 18705                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.202    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $69,490.95
         Passaic Metals (PAMPCO)                                      Contingent
         5 Central Avenue                                             Unliquidated
         Clifton, NJ 07011                                            Disputed
         Date(s) debt was incurred 10/31/22
                                                                   Basis for the claim:
         Last 4 digits of account number 0446
                                                                   Is the claim subject to offset?     No       Yes

3.203    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $23,239.00
         PD Construction Group                                        Contingent
         309 Camer Drive                                              Unliquidated
         Bensalem, PA 19020                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.204    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $616.09
         PECO                                                         Contingent
         P.O. Box 37629                                               Unliquidated
         Philadelphia, PA 19101-0629                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 5063
                                                                   Is the claim subject to offset?     No       Yes

3.205    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         Peirce Phelps, LLC                                           Contingent
         516 E. Township Line Rd.                                     Unliquidated
         Blue Bell, PA 19422-2197                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 2018
                                                                   Is the claim subject to offset?     No       Yes

3.206    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $14.60
         PENA - PLAS                                                  Contingent
         1249 Mid Valley Drive                                        Unliquidated
         Jessup, PA 18434                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.207    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $42,030.35
         Penn Mutual Life Ins. Co.                                    Contingent
         Payment Processing Center                                    Unliquidated
         PO Box 7460                                                  Disputed
         Philadelphia, PA 19101-7460
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.208    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $11,503.75
         Penn Pump                                                    Contingent
         2880 Bergy Road                                              Unliquidated
         Unit O                                                       Disputed
         Hatfield, PA 19440
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.209    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $250,247.95
         Penn Security Bank & Trust Co.                               Contingent
         PF/PL Local Union #524                                       Unliquidated
         711 E Corey Street                                           Disputed
         Scranton, PA 18503
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.210    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $598,996.00
         Penncoyd Iron Works                                          Contingent
         4 School Lane                                                Unliquidated
         Folcroft, PA 19032                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.211    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,779.27
         Pennsylvania Power & Light Co.                               Contingent
         2 North 9th Street CPC-GENN1                                 Unliquidated
         Allentown, PA 18101-1175                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.212    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $984.43
         Pennsylvania Turnpike Commission                             Contingent
         Violation Processing Center                                  Unliquidated
         8000C Derry Street                                           Disputed
         Harrisburg, PA 17111
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.213    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $6,270.00
         Perry Fiberglass Products Inc                                Contingent
         5415 Village Drive                                           Unliquidated
         Rockledge, FL 32955                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.214    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $90.10
         Pestmaster Services                                          Contingent
         93 Loomis Street                                             Unliquidated
         Wilkes Barre, PA 18702                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.215    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $303,894.20
         Peterson Service Co.                                         Contingent
         234 Route 70                                                 Unliquidated
         Medford, NJ 08055                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.216    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $13,475.00
         Phoenix Corp.                                                Contingent
         c/o Ronald Amato, Esq.                                       Unliquidated
         107 N. Commerce Way                                          Disputed
         Bethlehem, PA 18017
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.217    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $46,191.26
         Phoenix Metals Company                                       Contingent
         P.O. Box 932589                                              Unliquidated
         Atlanta, GA 31193                                            Disputed
         Date(s) debt was incurred 5.12.22 - 7.12.22
                                                                   Basis for the claim:
         Last 4 digits of account number 1321
                                                                   Is the claim subject to offset?     No       Yes

3.218    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Pillinger Miller Tarallo, LLP                                Contingent
         126 N. Salina Street                                         Unliquidated
         Suite 215                                                    Disputed
         Syracuse, NY 13202
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.219    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $11,694.00
         Pipefitters and Plumbers Local 524                           Contingent
         c/o O'Donoghue & O'Donoghue LLP                              Unliquidated
         5300 Wisconsin Avenue NW, Suite 800                          Disputed
         Washington, DC 20015
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.220    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $29,232.06
         Plumbers & Pipefitters Local                                 Contingent
         112 Trustee Account                                          Unliquidated
         Binghamton, NY 13904                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.221    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $16,677.04
         Plumbers and Pipefitters                                     Contingent
         Local 520 Benefit Funds                                      Unliquidated
         PO Box 1889                                                  Disputed
         Troy, MI 48099-1889
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.222    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Plumbers Union Local 690                                     Contingent
         2791 Southampton Road                                        Unliquidated
         Philadelphia, PA 19154                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.223    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $654.97
         PPI - Production Products, Inc.                              Contingent
         30500 Potomac Way                                            Unliquidated
         Charlotte Hall, MD 20622                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.224    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $53,516.51
         PPNPF Contribution Fund                                      Contingent
         PO Box 79972                                                 Unliquidated
         Baltimore, MD 21279-0972                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.225    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,900.00
         Precision Pump Service                                       Contingent
         PO Box 247                                                   Unliquidated
         Gradyville, PA 19039                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.226    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $825.00
         ProAsys                                                      Contingent
         318 Hendel Street                                            Unliquidated
         Shillington, PA 19607                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.227    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,368.48
         PROCONEX                                                     Contingent
         PO Box 757                                                   Unliquidated
         Souderton, PA 18964-0757                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.228    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $573.04
         ProCore Construction Services                                Contingent
         978 Bridgetown Pike                                          Unliquidated
         Langhorne, PA 19053                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.229    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $119.99
         Quill Corporation                                            Contingent
         PO Box 37600                                                 Unliquidated
         Philadelphia, PA 19101-0600                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.230    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,908.87
         R.E. Michel Company Inc.                                     Contingent
         PO Box 70510                                                 Unliquidated
         Philadelphia, PA 19176-0510                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.231    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $622.57
         R.J. Walker Company                                          Contingent
         1555 N. Keyser Avenue                                        Unliquidated
         Scranton, PA 18504-9664                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.232    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $810.00
         Reager & Adler, P.C.                                         Contingent
         2331 Market Street                                           Unliquidated
         Camp Hill, PA 17011                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 000H
                                                                   Is the claim subject to offset?     No       Yes

3.233    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,757.83
         Riley Sales, Inc.                                            Contingent
         1719 Romano Drive                                            Unliquidated
         Plymouth Meeting, PA 19462                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.234    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $15,105.00
         Robert M. Hilberts Inc.                                      Contingent
         PO Box 548                                                   Unliquidated
         Conshohocken, PA 19428                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.235    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,230.00
         RP Machine                                                   Contingent
         906 Stillwater Road                                          Unliquidated
         Newton, NJ 07860                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.236    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $16,361.68
         Ryder Transportation Services                                Contingent
         PO Box 96723                                                 Unliquidated
         Chicago, IL 60693-6723                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.237    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Safeco Insurance                                             Contingent
         PO Box 1438                                                  Unliquidated
         New York, NY 10116                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.238    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $14,438.00
         Schneider Electric                                           Contingent
         PO Box 841868                                                Unliquidated
         Dallas, TX 75284-1868                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.239    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Scranton Single Tax Office                                   Contingent
         123 Wyoming Avenue                                           Unliquidated
         Scranton, PA 18503                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.240    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $18,452.00
         Selective Insurance Company                                  Contingent
         PO Box 371468                                                Unliquidated
         Pittsburgh, PA 15250-7468                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.241    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $301.20
         Service Electric                                             Contingent
         PO Box 65123                                                 Unliquidated
         Baltimore, MD 21264-5123                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.242    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $321.82
         Seton                                                        Contingent
         2491 Wehrle Drive                                            Unliquidated
         Buffalo, NY 14221                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.243    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Sheet Metal Worker's Local No. 19                            Contingent
         1301 South Columbus Blvd.                                    Unliquidated
         Philadelphia, PA 19147                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.244    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $628,498.53
         Sheet Metal Workers Local #44                                Contingent
         Lawrence C. Musgrove Assoc. Inc                              Unliquidated
         1299 S Colorado Street                                       Disputed
         Salem, VA 24153
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.245    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $566,236.93
         Sheet Metal Workers' Nat'l Benefit                           Contingent
         3180 Fairview Park Drive, Suite 400                          Unliquidated
         Falls Church, VA 22042                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.246    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $742,160.92
         Siemens Building Technologies                                Contingent
         PO Box 2134                                                  Unliquidated
         Carol Stream, IL 60132-2134                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.247    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $17,661.66
         Skyworks Equipment Rental                                    Contingent
         PO Box 74404                                                 Unliquidated
         Cleveland, OH 44194-0504                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.248    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $36,400.00
         Smart Tap, Inc.                                              Contingent
         PO Box 277                                                   Unliquidated
         Oley, PA 19547                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.249    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,900.00
         SmithMiller Associates                                       Contingent
         38 North Main Street                                         Unliquidated
         Pittston, PA 18640                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.250    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $100.70
         Solutions for Small Business                                 Contingent
         PO Box 448                                                   Unliquidated
         Wilkes Barre, PA 18703-0448                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.251    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $25,344.30
         Southern Tier Insulations, Inc.                              Contingent
         3150 Buckingham Drive                                        Unliquidated
         Endwell, NY 13760                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.252    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $71,228.00
         SREIT Middlebrook, LLC                                       Contingent
         40 Tenth Avenue                                              Unliquidated
         8th Floor                                                    Disputed
         New York, NY 10014
                                                                   Basis for the claim: Lease guaranty
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.253    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $11,923.30
         Stadium Intl S&S, LLC                                        Contingent
         1006 Underwood Road                                          Unliquidated
         Olyphant, PA 18447                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.254    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $392,451.44
         Star Insulation                                              Contingent
         900 Miller Ave.                                              Unliquidated
         Croydon, PA 19021                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.255    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         State of New York, Binghamton Univ                           Contingent
         c/o Pillinger Miller Tarallo                                 Unliquidated
         126 N. Salinas Street, Suite 215                             Disputed
         Syracuse, NY 13202
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.256    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $1,722,926.56
         Steamfitters Local Union #420                                Contingent
         14420 Townsend Road                                          Unliquidated
         Philadelphia, PA 19154                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.257    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $31,714.00
         Sunbelt Rentals                                              Contingent
         PO Box 409211                                                Unliquidated
         Atlanta, GA 30384-9211                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 7507
                                                                   Is the claim subject to offset?     No       Yes




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3.258    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $17,809.01
         Swagelok Penn                                                Contingent
         1663 Republic Road                                           Unliquidated
         Huntingdon Valley, PA 19006                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.259    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $27,502.33
         Thackray Crane Rental, Inc.                                  Contingent
         2071 Byberry Road                                            Unliquidated
         Philadelphia, PA 19116                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.260    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $14,887.38
         The Agnew Corporation Agent                                  Contingent
         c/o Lentz, Cantor & Massey, Ltd.                             Unliquidated
         460 E. King Road                                             Disputed
         Malvern, PA 19355-3049
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.261    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,456.76
         The Pate Company                                             Contingent
         245 Eisenhower Lane South                                    Unliquidated
         Lombard, IL 60148                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 9275
                                                                   Is the claim subject to offset?     No       Yes

3.262    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $9,312.10
         The Receivable Management Services                           Contingent
         P.O. Box 19646                                               Unliquidated
         Minneapolis, MN 55419                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 9132
                                                                   Is the claim subject to offset?     No       Yes

3.263    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $295,077.00
         The State of Pennsylvania                                    Contingent
         Pending Lien Enforements - Tax Grou                          Unliquidated
         Wilkes-Barre, PA                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.264    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $40,020.00
         Thermal Solutions Contractors                                Contingent
         1408 Pennsylvania Avenue                                     Unliquidated
         Oreland, PA 19075                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.265    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,672.20
         Toyota Financial Services                                    Contingent
         PO Box 5855                                                  Unliquidated
         Carol Stream, IL 60197-5855                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.266    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,151.80
         TP Trailers, Inc.                                            Contingent
         703 West Ridge Pike                                          Unliquidated
         Limerick, PA 19468                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.267    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $142,876.31
         Trane U.S. Inc.                                              Contingent
         3600 Pammel Creek Rd.                                        Unliquidated
         La Crosse, WI 54601-7599                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 4024
                                                                   Is the claim subject to offset?     No       Yes

3.268    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $13,089.84
         Trimble Navigation Limited                                   Contingent
         PO Box 203558                                                Unliquidated
         Dallas, TX 75320-3558                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.269    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $94,581.60
         Triple Cities Windustrial Co.                                Contingent
         2300 Vestal Road                                             Unliquidated
         Vestal, NY 13850                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.270    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $4,999.27
         Tristate Equipment                                           Contingent
         2587 Yellow Springs Road                                     Unliquidated
         Malvern, PA 19355                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.271    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $69,407.23
         Trustees of the Pipefitters and Plu                          Contingent
         c/o Andrew Costa-Kelser, Esq.                                Unliquidated
         Constitution Place, Suite 600                                Disputed
         Philadelphia, PA 19106
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.272    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $50.47
         Tulpehocken Spring Water                                     Contingent
         200 N. 1st Street                                            Unliquidated
         Stroudsburg, PA 18360                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.273    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $27,542.72
         U.A. Local 22 Fringe Benefit A                               Contingent
         120 Gardenville Parkway                                      Unliquidated
         West Seneca, NY 14224                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.274    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $4,678.70
         U.A. Local Union 524                                         Contingent
         Organization Fund                                            Unliquidated
         711 Corey Street                                             Disputed
         Scranton, PA 18505
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.275    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,391.43
         U.G.I. Utilites, Inc.                                        Contingent
         PO Box 15503                                                 Unliquidated
         Wilmington, DE 19886-5503                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.276    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,684.50
         U.S. Office & Industrial Supply                              Contingent
         PO Box 7612                                                  Unliquidated
         Van Nuys, CA 91409-7612                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.277    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $7,460.04
         UA Local Union 524                                           Contingent
         711 Corey Street                                             Unliquidated
         Scranton, PA 18505                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.278    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $50.42
         UALMC                                                        Contingent
         United Assoc Labor Mgt Corp                                  Unliquidated
         THREE PARK PLACE                                             Disputed
         Annapolis, MD 21401
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 41 of 47




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Debtor      Marx Sheet Metal & Mechanical, Inc.                                             Case number (if known)            5:23-bk-00839
            Name

3.279    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,854.73
         Uline                                                        Contingent
         Attn: Accounts Receivable                                    Unliquidated
         P.O. Box 88741                                               Disputed
         Chicago, IL 60680
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.280    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,485.20
         United Energy Products, Inc.                                 Contingent
         1610 Professional Blvd.                                      Unliquidated
         Crofton, MD 21114                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.281    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $85.47
         United Parcel Service                                        Contingent
         PO Box 650116                                                Unliquidated
         Dallas, TX 75264-0116                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.282    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $26,054.20
         United Rentals                                               Contingent
         Credit Office #589                                           Unliquidated
         1550 Northwest Dr NW                                         Disputed
         Atlanta, GA 30318
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.283    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         United States Surety Company                                 Contingent
         225 Schilling Circle, Suite 265                              Unliquidated
         Hunt Valley, MD 21031                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Bond claim
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.284    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $192.10
         Unum Life Ins Co of America                                  Contingent
         PO Box 406990                                                Unliquidated
         Atlanta, GA 30384-6990                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.285    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $481.92
         UPS RMS                                                      Contingent
         c/o Executive Financial Enterprises                          Unliquidated
         1465 Tamarind Ave. Box 680                                   Disputed
         Hollywood, CA 90028
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 42 of 47




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Debtor      Marx Sheet Metal & Mechanical, Inc.                                             Case number (if known)            5:23-bk-00839
            Name

3.286    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $19,352.72
         Urban Electrical Contractors                                 Contingent
         801 William Street                                           Unliquidated
         Dunmore, PA 18510                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.287    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         US Department of Transportation                              Contingent
         1200 New Jersey Avenue S.E.                                  Unliquidated
         Washington, DC 20590                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 3691
                                                                   Is the claim subject to offset?     No       Yes

3.288    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $26,938.00
         Valley Testing & Balancing, Inc.                             Contingent
         PO Box 1205                                                  Unliquidated
         Conyngham, PA 18219                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.289    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $16,498.00
         Verizon                                                      Contingent
         6929 N. Lakewood Ave.                                        Unliquidated
         Tulsa, OK 74117                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 0001
                                                                   Is the claim subject to offset?     No       Yes

3.290    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $575.32
         Verizon                                                      Contingent
         6929 N. Lakewood Ave.                                        Unliquidated
         Tulsa, OK 74117                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 0009
                                                                   Is the claim subject to offset?     No       Yes

3.291    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,216.76
         Versatile Office Trailers                                    Contingent
         527 Route 31                                                 Unliquidated
         Port Byron, NY 13140                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.292    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $9,178.20
         W.W. Grainger Inc.                                           Contingent
         c/o Richard T. Avis, Esq.                                    Unliquidated
         PO Box 31579                                                 Disputed
         Chicago, IL 60631
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 43 of 47




          Case 5:23-bk-00839-MJC                    Doc 22 Filed 05/12/23 Entered 05/12/23 12:53:31                                           Desc
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Debtor      Marx Sheet Metal & Mechanical, Inc.                                             Case number (if known)            5:23-bk-00839
            Name

3.293    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $7,603.05
         Waco Filters Corporation                                     Contingent
         26661 Network Place                                          Unliquidated
         Chicago, IL 60673                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.294    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $72,435.00
         Ware Industries                                              Contingent
         address needed                                               Unliquidated
         Date(s) debt was incurred                                    Disputed
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?     No       Yes

3.295    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,030.95
         Weinstein Supply                                             Contingent
         887 Fern Hill Road                                           Unliquidated
         West Chester, PA 19380                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.296    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $1,119,675.52
         Wells Fargo Bank                                             Contingent
         Plumber's Local Union 690 Fund                               Unliquidated
         2791 Southampton Road                                        Disputed
         Philadelphia, PA 19154
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.297    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,645.03
         Westmoreland Club                                            Contingent
         59 South Franklin Street                                     Unliquidated
         Wilkes Barre, PA 18701                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.298    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,047.87
         Wyoming Valley Country Club                                  Contingent
         PO Box 996                                                   Unliquidated
         Wilkes Barre, PA 18703-0996                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.299    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $204.20
         Wyoming Valley Sanitary Author                               Contingent
         PO Box 33A                                                   Unliquidated
         Wilkes Barre, PA 18703                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 44 of 47




          Case 5:23-bk-00839-MJC                    Doc 22 Filed 05/12/23 Entered 05/12/23 12:53:31                                           Desc
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Debtor       Marx Sheet Metal & Mechanical, Inc.                                                    Case number (if known)            5:23-bk-00839
             Name

3.300     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $1,129.36
          Xerox Corporation                                                    Contingent
          P.O. Box 660501                                                      Unliquidated
          Dallas, TX 75266-0501                                                Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number 9186
                                                                           Is the claim subject to offset?      No       Yes

3.301     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $18,607.49
          Yeager Supply, Inc.                                                  Contingent
          PO Box 1177                                                          Unliquidated
          Reading, PA 19603-1177                                               Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number
                                                                           Is the claim subject to offset?      No       Yes

3.302     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.             $268,182.00
          Z-Tech Insulation, Inc.                                              Contingent
          215 Corporate Drive                                                  Unliquidated
          Reading, PA 19605                                                    Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number
                                                                           Is the claim subject to offset?      No       Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                    related creditor (if any) listed?              account number, if
                                                                                                                                                   any
4.1       Benjamin Chaise & Assoc
          6520 Platt Ave 663                                                                        Line     3.254
          West Hills, CA 91307
                                                                                                           Not listed. Explain

4.2       Brown & Joseph LLC
          One Pierce Place                                                                          Line     3.159
          Suite 700 W
                                                                                                           Not listed. Explain
          Itasca, IL 60143

4.3       C2C Resources LLC
          1455 Lincoln Pkwy E, Suite 550                                                            Line     3.130
          Atlanta, GA 30346
                                                                                                           Not listed. Explain

4.4       Caine & Weiner
          12005 Ford Rd., Suite 300                                                                 Line     3.172
          Dallas, TX 75234
                                                                                                           Not listed. Explain

4.5       Commercial Collection of NY
          34 Seymour Street                                                                         Line     3.73
          Tonawanda, NY 14150
                                                                                                           Not listed. Explain

4.6       CST Co.
          PO Box 33127                                                                              Line     3.238
          Louisville, KY 40232-3127
                                                                                                           Not listed. Explain




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Debtor      Marx Sheet Metal & Mechanical, Inc.                               Case number (if known)         5:23-bk-00839
            Name

         Name and mailing address                                             On which line in Part1 or Part 2 is the   Last 4 digits of
                                                                              related creditor (if any) listed?         account number, if
                                                                                                                        any
4.7      DAL, Inc.
         PO Box 162                                                           Line   3.127
         Clifton Heights, PA 19018-0162
                                                                                     Not listed. Explain

4.8      Darryl White
         Caine & Weiner                                                       Line   3.294
         5805 Sepulveda Blvd, 4th Floor
                                                                                     Not listed. Explain
         Sherman Oaks, CA 91411

4.9      Gentile Law Firm
         220 South White Horse Pike                                           Line   3.205
         Audubon, NJ 08106
                                                                                     Not listed. Explain

4.10     Harrington Industrial Plastics
         14480 Yarba Avenue                                                   Line   3.129
         Chino, CA 91710
                                                                                     Not listed. Explain

4.11     Honeywell International Inc.
         3079 Premier Pkwy                                                    Line   3.136
         Suite 100
                                                                                     Not listed. Explain
         Duluth, GA 30097

4.12     James Adelman, Esq.
         Morris & Adelman                                                     Line   3.42
         PO Box 2235
                                                                                     Not listed. Explain
         Bala Cynwyd, PA 19004

4.13     Laura Leacy Kyler, Esq
         McCarter & English                                                   Line   3.252
         100 Mulberry Street
                                                                                     Not listed. Explain
         Newark, NJ 07102

4.14     NCS Credit
         729 Miner Rd.                                                        Line   3.261
         Cleveland, OH 44134
                                                                                     Not listed. Explain

4.15     Richard Dreyfus
         Levy Diamond Bello & Assoc.                                          Line   3.202
         260 Quarry Road, Unit D
                                                                                     Not listed. Explain
         Milford, CT 06460

4.16     The Receivable Management Services
         P.O. Box 19646                                                       Line   3.300
         Minneapolis, MN 55419
                                                                                     Not listed. Explain

4.17     Thomas Beckley
         Beckley & Madden                                                     Line   3.124
         212 North Third St, Suite 301
                                                                                     Not listed. Explain
         Harrisburg, PA 17101

4.18     Tokio Marine HCC
         801 South Figueroa Stret                                             Line   3.283
         Suite 700
                                                                                     Not listed. Explain
         Los Angeles, CA 90017




Official Form 206 E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                      Page 46 of 47




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Debtor      Marx Sheet Metal & Mechanical, Inc.                                        Case number (if known)           5:23-bk-00839
            Name

          Name and mailing address                                                     On which line in Part1 or Part 2 is the       Last 4 digits of
                                                                                       related creditor (if any) listed?             account number, if
                                                                                                                                     any
4.19      Transworld Systems
          500 Virgina Drive                                                            Line     3.212
          Suite 514
                                                                                              Not listed. Explain
          Fort Washington, PA 19034

4.20      Trimble, Inc.
          935 Stewart Drive                                                            Line     3.268
          94085-
                                                                                              Not listed. Explain
          Sunnyvale, CA 94085-3913

4.21      United States Surety Company
          1 Texas Station Ct #230                                                      Line     3.283
          Timonium, MD 21093
                                                                                              Not listed. Explain

4.22      Wagner Falconer & Judd
          100 S. Fifth Street                                                          Line     3.69
          Suite 800
                                                                                              Not listed. Explain
          Minneapolis, MN 55402

4.23      Walsh & Gaertner
          24 East 4th Street                                                           Line     3.236
          Saint Paul, MN 55101
                                                                                              Not listed. Explain


Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                           Total of claim amounts
5a. Total claims from Part 1                                                              5a.          $                         0.00
5b. Total claims from Part 2                                                              5b.    +     $                27,829,089.18

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                   5c.          $                   27,829,089.18




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 47 of 47




          Case 5:23-bk-00839-MJC                     Doc 22 Filed 05/12/23 Entered 05/12/23 12:53:31                                       Desc
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Fill in this information to identify the case:

Debtor name       Marx Sheet Metal & Mechanical, Inc.

United States Bankruptcy Court for the:     MIDDLE DISTRICT OF PENNSYLVANIA

Case number (if known)     5:23-bk-00839
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            Equipment lease
           lease is for and the nature of
           the debtor's interest

               State the term remaining
                                                                                    Canon Financial Services, Inc.
           List the contract number of any                                          14904 Collections Center Dr.
                 government contract                                                Chicago, IL 60693-0149


2.2.       State what the contract or            Vehicle Lease
           lease is for and the nature of
           the debtor's interest

               State the term remaining
                                                                                    Enterprise Fleet Mgmt.
           List the contract number of any                                          P.O. Box 800089
                 government contract                                                Kansas City, MO 64180-0089


2.3.       State what the contract or            Auto Lease
           lease is for and the nature of
           the debtor's interest

               State the term remaining
                                                                                    Nissan Motor Acceptance
           List the contract number of any                                          PO Box 740596
                 government contract                                                Cincinnati, OH 45274-0596


2.4.       State what the contract or            Vehicle Lease
           lease is for and the nature of
           the debtor's interest

               State the term remaining

           List the contract number of any                                          Toyota Financial
                 government contract




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 2



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Debtor 1 Marx Sheet Metal & Mechanical, Inc.                                     Case number (if known)   5:23-bk-00839
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.5.      State what the contract or        Equipment Lease
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Xerox Corporation
          List the contract number of any                               P.O. Box 660501
                government contract                                     Dallas, TX 75266-0501




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                  Page 2 of 2



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Fill in this information to identify the case:

Debtor name      Marx Sheet Metal & Mechanical, Inc.

United States Bankruptcy Court for the:   MIDDLE DISTRICT OF PENNSYLVANIA

Case number (if known)   5:23-bk-00839
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Joseph Marx                 24 Clifton Court                                          Univest Bank and                   D   2.4
                                      Hanover Twp, PA 18707                                     Trust Co.                          E/F
                                                                                                                                   G




   2.2    Marx Brothers               373 High Street                                           Univest Bank and                   D   2.5
          Properties, LLC             Wilkes Barre, PA 18702                                    Trust Co.                          E/F
                                                                                                                                   G




   2.3    Marx Group NJ               14 East Street                                            GreatAmerica                       D   2.3
          LLC                         Suite 14E4                                                Financial Services                 E/F
                                      Bound Brook, NJ 08805
                                                                                                                                   G




   2.4    Marx Group NJ               14 East Street                                            SREIT Middlebrook,                 D
          LLC                         Suite 14E4                                                LLC                                E/F       3.252
                                      Bound Brook, NJ 08805
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 2


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Debtor    Marx Sheet Metal & Mechanical, Inc.                                     Case number (if known)   5:23-bk-00839


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                          Column 2: Creditor



  2.5     Marx Group NJ            14 East Street                                      Univest Bank and                   D   2.4
          LLC                      Suite 14E4                                          Trust Co.                          E/F
                                   Bound Brook, NJ 08805
                                                                                                                          G




  2.6     Thomas Marx Sr           14 Birch Street                                     Univest Bank and                   D   2.4
                                   Wilkes Barre, PA 18705                              Trust Co.                          E/F
                                                                                                                          G




Official Form 206H                                              Schedule H: Your Codebtors                                      Page 2 of 2


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Fill in this information to identify the case:

Debtor name         Marx Sheet Metal & Mechanical, Inc.

United States Bankruptcy Court for the:    MIDDLE DISTRICT OF PENNSYLVANIA

Case number (if known)     5:23-bk-00839
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                             $5,069,484.00
      From 1/01/2023 to Filing Date
                                                                                          Other


      For prior year:                                                                     Operating a business                           $50,635,482.00
      From 1/01/2022 to 12/31/2022
                                                                                          Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1



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Debtor       Marx Sheet Metal & Mechanical, Inc.                                                Case number (if known) 5:23-bk-00839



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

              Case title                               Nature of case              Court or agency's name and                 Status of case
              Case number                                                          address
      7.1.    Trustees of tthe Sheet Metal,            Failure to remit            District Court of New                         Pending
              Air, Rail, Transportation                dues                        Jersey                                        On appeal
              Workers International                                                Clarkson S. Fisher Building
                                                                                                                                 Concluded
              Association Local 27 Annuity                                         & U.S. Court
              Fund, et al. v. Halo-Marx                                            402 East State Street Room
              Sheet Metal d/b/a Marx Sheet                                         2020
              Metal & Mechanical, Inc.                                             Trenton, NJ 08608
              22-cv-06402-ZNQ-LHG

      7.2.    GreatAmerica Financial                   Breach of                   Iowa District Court for Linn                  Pending
              Services Corporation v. Marx             Contract                    County                                        On appeal
              NJ Group LLC d/b/a halo Marx                                         50 3rd Ave Bridge
                                                                                                                                 Concluded
              Sheet Metal and Marx Sheet                                           Cedar Rapids, IA 52401
              Metal Mechanical, Inc.
              LACV101041

      7.3.    Integrated System Solutions              Construction                American Arbitration                          Pending
              v. Marx Sheet Metal &                    Breach of                   Association                                   On appeal
              Mechanical, Inc.                         Contract                    P.O. Box 19609
                                                                                                                                 Concluded
              01-22-0004-9953                                                      Johnston, RI 02919




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              Case title                              Nature of case              Court or agency's name and            Status of case
              Case number                                                         address
      7.4.    Local Union #25 New Jersey              Arbitration                                                           Pending
              on its Behalf and on Behalf of                                                                                On appeal
              the Sheet Metal Workers
                                                                                                                            Concluded
              Local #25 Welfare, Vacation,
              Annuity and Education Funds
              v. Marx NJ Grooup LLC d/b/a
              Halo Marx Sheet Metal


      7.5.    Univest Bank and Trust Co. v.           Note Default                Court of Common Pleas                     Pending
              Marx Sheet Metal &                                                  Montgomery County                         On appeal
              Mechanical, Inc.                                                    2 E. Airy Street
                                                                                                                            Concluded
              2023-03503                                                          Norristown, PA 19401

      7.6.    Univest Bank and Trust Co. v.           Note Default                Court of Common Pleas                     Pending
              Marx Sheet Metal &                                                  Montgomery County                         On appeal
              Mechanical, Inc.                                                    2 E. Airy Street
                                                                                                                            Concluded
              2023-02966                                                          Norristown, PA 19401

      7.7.    Trustees of the Pipefitters             Complaint                   District Court, MDPA                      Pending
              and Plumbers Local 524                                              228 Walnut St.                            On appeal
              Annuity Fund v. Marx Sheet                                          Harrisburg, PA 17101
                                                                                                                            Concluded
              Metal & Mechanical, Inc. and
              Joseph Marx
              23-cv-407

      7.8.    Commonwealth of PA Dept of                                          Luzerne County                            Pending
              Labor & Industry to the Use of                                      Courthouse                                On appeal
              the Unemployment                                                    200 North River Street
                                                                                                                            Concluded
              Compensation Fund v. Marx                                           Wilkes Barre, PA
              Sheet Metal & Mechanical,                                           18711-1001
              Inc.
              2023-01605

      7.9.    Peirce-Phelps, LLC v. Marx                                          Philadelphia Court of                     Pending
              Sheet Metal & Mechanical,                                           Common Pleas                              On appeal
              Inc. and Donald Marx, Sr.                                           1400 JFK Blvd.
                                                                                                                            Concluded
              2023-380                                                            Philadelphia, PA 19107

      7.10 H&H Sales Associates, Inc. v.              Breach of                   Luzerne County Court of                   Pending
      .    Debtor                                     Contract                    Common Pleas                              On appeal
              2022-10335
                                                                                                                            Concluded

      7.11 Berkley Insurance Company                  Civil Action                United States District Court              Pending
      .    v. Debtor, et al                                                       - MDPA                                    On appeal
              3:23-cv-00615-KM
                                                                                                                            Concluded


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000



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          None

               Recipient's name and address            Description of the gifts or contributions                 Dates given                           Value


Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and             Amount of payments received for the loss                  Dates of loss            Value of property
      how the loss occurred                                                                                                                            lost
                                                       If you have received payments to cover the loss, for
                                                       example, from insurance, government compensation, or
                                                       tort liability, list the total received.

                                                       List unpaid claims on Official Form 106A/B (Schedule
                                                       A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

                Who was paid or who received             If not money, describe any property transferred               Dates                Total amount or
                the transfer?                                                                                                                        value
                Address
      11.1.     Flaster/Greenberg, P.C.
                1717 Arch Street
                Suite 3300
                Philadelphia, PA 19103                   Attorney Fees                                                 3/6/2023                  $25,338.00

                Email or website address
                harry.giacometti@flastergreenberg.
                com

                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                            Describe any property transferred                    Dates transfers               Total amount or
                                                                                                              were made                              value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

               Who received transfer?                  Description of property transferred or                    Date transfer              Total amount or
               Address                                 payments received or debts paid in exchange               was made                            value

 Part 7:      Previous Locations

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14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

               Address                                                                                              Dates of occupancy
                                                                                                                    From-To

Part 8:     Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


               Facility name and address               Nature of the business operation, including type of services              If debtor provides meals
                                                       the debtor provides                                                       and housing, number of
                                                                                                                                 patients in debtor’s care

Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?

                       No Go to Part 10.
                      Yes. Fill in below:
                    Name of plan                                                                        Employer identification number of the plan
                    Marx Sheet Metal & Mechanical                                                       EIN: ?

                    Has the plan been terminated?
                      No
                       Yes


Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and           Last 4 digits of            Type of account or          Date account was               Last balance
              Address                                  account number              instrument                  closed, sold,              before closing or
                                                                                                               moved, or                           transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.



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         None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


         None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
      Publice Storage                                        Access denied by facility             Office fixtures and                            No
      1138 W Chester Pike                                                                          equipment, tools, equipment                    Yes
      West Chester, PA 19382                                                                       used by business



Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                             Court or agency name and              Nature of the case                          Status of case
      Case number                                            address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                  Governmental unit name and                Environmental law, if known             Date of notice
                                                             address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.


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      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
            None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        CohnReznick LLP                                                                                                    2018-2023
                    101 Crawfords Corner Road
                    Suite 2316
                    Holmdel, NJ 07733

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.1.        CohnReznick LLP
                    101 Crawfords Corner Road
                    Suite 2316
                    Holmdel, NJ 07733

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address
      26d.1.        Univest Bank and Trust Co.
                    14 N. Main Street
                    Souderton, PA 18964

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                  Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.
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      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Thomas Marx Sr                         14 Birch Street                                     Shareholder                             50
                                             Wilkes Barre, PA 18705

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Joseph Marx                            24 Clifton Court                                    Shareholder - President                 50
                                             Hanover Twp, PA 18707



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

             Name and address of recipient            Amount of money or description and value of               Dates               Reason for
                                                      property                                                                      providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                     Employer Identification number of the parent
                                                                                                      corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                           Employer Identification number of the pension
                                                                                                      fund
   Sheet Metal Workers 19, 25, 38 and 44                                                              EIN:

   Pipefitters Local 22, 38, 520, 524                                                                 EIN:

   Plumbers Local 690                                                                                 EIN:




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Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         May 12, 2023

/s/ Joseph Marx                                                 Joseph Marx
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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                                                           Middle District of Pennsylvania
 In re       Marx Sheet Metal & Mechanical, Inc.                                                              Case No.      5:23-bk-00839
                                                                              Debtor(s)                       Chapter       7

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
     be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 25,000.00
             Prior to the filing of this statement I have received                                        $                 25,000.00
             Balance Due                                                                                  $                       0.00

2.   The source of the compensation paid to me was:

                  Debtor             Other (specify):

3.   The source of compensation to be paid to me is:

                  Debtor             Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
     b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
     d. [Other provisions as needed]
             Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
             reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
             522(f)(2)(A) for avoidance of liens on household goods.

6.   By agreement with the debtor(s), the above-disclosed fee does not include the following service:
             Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
             any other adversary proceeding.
                                                                     CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     May 12, 2023                                                             /s/ Harry J. Giacometti
     Date                                                                     Harry J. Giacometti 55861
                                                                              Signature of Attorney
                                                                              Flaster/Greenberg, P.C.
                                                                              1717 Arch Street
                                                                              Suite 3300
                                                                              Philadelphia, PA 19103
                                                                              (215) 279-9393
                                                                              harry.giacometti@flastergreenberg.com
                                                                              Name of law firm




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                                                                     Debtor(s)                    Chapter      7




                                   VERIFICATION OF CREDITOR MATRIX


I, the President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




Date:     May 12, 2023                                   /s/ Joseph Marx
                                                         Joseph Marx/President
                                                         Signer/Title




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                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Marx Sheet Metal & Mechanical, Inc. in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
Joseph Marx
24 Clifton Ct
Hanover Twp, PA 18707
Thomas Marx Sr.
14 Birch Street
Wilkes Barre, PA 18705




  None [Check if applicable]




May 12, 2023                                     /s/ Harry J. Giacometti
Date                                             Harry J. Giacometti 55861
                                                 Signature of Attorney or Litigant
                                                 Counsel for Marx Sheet Metal & Mechanical, Inc.
                                                 Flaster/Greenberg, P.C.
                                                 1717 Arch Street
                                                 Suite 3300
                                                 Philadelphia, PA 19103
                                                 (215) 279-9393
                                                 harry.giacometti@flastergreenberg.com




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